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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

BRIAN HUMPHREY,                                                     CIVIL ACTION
JOEL GIRIOR AND
BRYANT WHITE

VERSUS                                                              NO. 20-233-JWD-SDJ


JAMES LEBLANC                                                       CONSOLIDATED WITH
                                                                    NO. 21-108-JWD-SDJ


                                             ORDER

       On June 27, 2023, at 10:00 a.m., United States Magistrate Judge Scott. D. Johnson held a

video Status Conference that included the following participants:

               Lydia Wright                           Andrew Blanchfield
               Samantha Bosalavage                    Christopher K. Jones
               William Most                           Chelsea Payne
               Stephen H. Weil                        Counsel for Defendants
               Caroline Gabriel
               Counsel for Plaintiffs

       The Court addressed the pending discovery-related Motions (No. 20-cv-233, R. Docs. 149,

179, 192); (No. 21-108, R. Doc. 93) with the parties, who in turn provided additional insight on

their discovery issues. The Court takes the pending discovery Motions under advisement and will

separately issue orders as it resolves each Motion.

       Signed in Baton Rouge, Louisiana, on June 27, 2023.


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                                             SCOTT D. JOHNSON
                                             UNITED STATES MAGISTRATE JUDGE




C:cv36a; T: 00:45
